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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

TASER INTERNATIONAL, INC., et al.,  )
                                    )                     Case No.: 1:10-CV-03108-JOF
     Plaintiffs,                    )
                                    )
v.                                  )                     [On removal from the State
                                    )                     Court of Fulton County,
MORGAN STANLEY & CO., INC., et al., )                     Georgia Case No.:
                                    )                     2008-EV-004739-B]
     Defendants.                    )
____________________________________)

                                  NOTICE OF SERVICE

           Notice is hereby given that the Plaintiffs served the letters1 dated

September 17, 2010 and September 11, 2008, from the Office of the General

Counsel of the State Bar of Georgia to the Honorable Patsy Y. Porter advising that

the Office of the General Counsel has no objection to Gary M. Jewell, Scott R.

Link, James W. Christian and Katherine Morton-Gonyea’s applications for

admission pro hac vice, upon counsel of record on October 11, 2010 by causing

same to be delivered by United States mail to the following:



1
  Plaintiffs do not agree with or consent to the improper removal of this case.
Plaintiffs provided these letters to Defendants and file the instant Notice of Service
as the pro hac vice admissions will remain in effect in the event the case is
remanded to the Fulton County State Court.

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                 Attorneys for Defendants:
                 Richard H. Sinkfield, Esq.
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                 229 Peachtree Street, N.E.
                 Atlanta, GA 30303-1601

           Respectfully submitted this 13th day of October, 2010.



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                                        (admitted pro hac vice)2




2
  The State Court Orders granting these attorneys’ pro hac vice admissions remain
in effect after removal pursuant to 28 U.S.C. § 1450. In the event the Court
believes that the pro hac vice admissions are not still in effect, Plaintiffs would be
pleased to submit additional applications.
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                              CERTIFICATE OF SERVICE

           I hereby certify that on this day, a true and correct copy of the foregoing

NOTICE OF SERVICE was electronically filed with the Clerk of Court using the

Court’s electronic filing system which will automatically send an email

notification of such filing to the following attorneys of record who are registered

participants in the Court’s electronic notice and filing system:

                 Richard H. Sinkfield, Esq.
                 Dan F. Laney, III, Esq.
                 Kristina M. Jones, Esq.
                 Stefanie H. Jackman, Esq.
                 James W. Cobb, Esq.
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           Further, I hereby certify that on this day, I caused a true and correct copy of

the foregoing NOTICE OF SERVICE to be served by United States mail on:

                 Attorneys for Banc of America Securities, LLC and
                 Merrill Lynch, Pierce, Fenner & Smith, Inc.:
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                 O’Melveny & Myers LLP
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               Wilmer Cutler Pickering Hale & Dorr LLP
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               This the 13th day of October, 2010.

                                        /s/ Nicole G. Iannarone
                                        Nicole G. Iannarone
                                        Georgia Bar No. 382510




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